
In re: Bobbye Kirkland McCoy applying for supervisory writs. 339 So.2d 976.
Writ granted.
The petition of the relator in the above entitled and numbered ease having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Thomas C. Wicker, Jr., Judge of the 24th Judicial District, Court for the Parish of Jefferson, to transmit to the Supreme Court of Louisiana, on or before the 17th day of January, 1977, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on the 11th day of April, 1977, at 10 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
